Case 7:17-cv-OOO73 Document 1 Filed in TXSD on 03/10/17 Page 1 of 37

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

MCALLEN DIVIsIoN
§
LoNDRES INvEsTMENTs, LP, §
Plaintiff §
§
§
V. § Civil Action No. 7 :17-cv-00073
§
§
§
PENN-AMERICA INSURANCE §
CoMPANY AND JoHN MCNABB, §
Defendants §
§

 

DEFENDANTS’ NOTICE OF REMOVAL

 

T 0 THE HONORABLE UNITED STATES DISTRICT JUDGE:

PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants Penn-
America Insurance Company and John McNabb (herein, “Defendants”) hereby file this Notice of
Removal from the 93rd Judicial District Court for Hidalgo County, Texas to the United States
District Court for the Southern District of Texas, McAllen Division. ln support of this Notice,
Defendants respectfully show as follows:

Preliminary Statement

l. This lawsuit involves a dispute over Penn-America’s handing of Plaintiff’s

insurance claims for damages to its property from a storm. ln addition to the claims against Penn-

America, the Petition purports to state individual claims against John McNabb. However, as Penn-

 

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prejudgment and postjudgment interest, including judgment for additional damages and punitive
damages Defendants generally deny Plaintiffs claims.

5. The storm which allegedly damaged the Plaintiff’ s property occurred in or around
March 26, 2015. Plaintiff thereafter submitted a claim to Penn-America against the Policy
covering its property.

6. Penn~America assigned an independent adjuster, John McNabb, to adjust the claim.

7. Plaintiff alleges that all named Defendants were not diligent in investigating
Plaintiff` s loss and/or paying its claim.

Basisfor Removal

8. Removal of this action is based on diversity of citizenship pursuant to 28 U.S.C.
§ 1332. Plaintiff Londres lnvestments, LP is a TeXas limited partnership with its principal place
of business located in Hidalgo County, Texas. See Plaim‘z`/j[’s Orz'gz'nal Petz`tz`on.

9. Penn-America is a Pennsylvania company with its principal place of business in
Bala Cynyd, Pennsylvania. lt is a wholly owned subsidiary of Penn America Group, Inc., a
Pennsylvania corporation Accordingly, Penn~America is domiciled in and a resident of
Pennsylvania. See A]jlidavz'z‘ of Kate Wilkz'nson.

lO. Defendant John McNabb is an individual residing and domiciled in the State of
Texas. However, due to his improper joinder, his citizenship should be disregarded for purposes
of diversity jurisdiction Mr. McNabb is improperly joined because Plaintiff pleads insufficient
facts to support any of its claims against him.

ll. There is complete diversity of citizenship between the proper parties

12. Citizenship of improperly joined parties, here John McNabb, is totally disregarded

when determining the couit’s subject matter jurisdiction The doctrine of improper joinder

 

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prevents defeat of federal removal jurisdiction premised on diversity by the presence of an
improperly joined, non~diverse defendantl

13. A defendant may establish improper joinder by proving that the plaintiff will be
unable to establish a cause of action against the non-diverse defendant in state court.2 Plaintiff
cannot establish any cause of action asserted against John McNabb.

14. Because John McNabb is improperly joined, and therefore his citizenship is
completely disregarded, this Court has original jurisdiction over this case because it is a suit
between citizens/entities of different states, and Plaintiff claims to be entitled to damages in excess
of $75,0()0.00, exclusive of interest and costs. 28 U.S.C. § 1332(a). See Plaina`jj"s Formal Demand
Letz‘e`r demanding $606, 538. 09 in economic damages and $500, 000 in consequential damages

T he Removal is Procedurally Correct

15. Penn-America Insurance Company was the first Defendant served with the Original
Petition on February 16, 2017. Therefore, this Notice of Removal is filed within the 30~day time
period required by 28 U.S.C. § l446(b).

16. Venue is proper in this district under 28 U.S.C. § l44l(a) because this district and
division embrace the place in which the removed action has been pending and because a substantial
part of the events giving rise to the Plaintiff s claim allegedly occurred in this district.

17. EXhibit “A” to this Notice contains copies of all process and pleadings filed in the
state court proceeding in Hidalgo County, Texas.

148. This notice is filed by all Defendants and therefore all Defendants join in and

consent to this Removal.

 

1 Borden v. Allstate Ins. Co., 589 F.3d 168, 171 (Sth Cir. 2009).
2 Travi's v. Irby, 326 F3d 644 (Sth Cir. 2003).

 

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19. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal will be filed
with the Clerk of the District Court for Hidalgo County, Texas and served upon Plaintiff through
its counsel of record.

WHEREFORE, Defendants hereby request that this action be removed from the 93rd
Judicial District Court of Hidalgo County, Texas to the United States District Court for the
Southern District of Texas, McAllen Division, and that this Court enter such further orders as may

be necessary and appropriate

Dated March 10, 2017

Respectfully submitted,

/S/ Richard Kasson

RICHARD J. KASS()N

State Bar No. 24002392

GoNzALEz, CHISCANO, ANGULo & KAssoN, P.C.
9601 McAllister Freeway, Suite 401

San Antonio, TeXas 78216

Phone: (210) 569-8500

Fax: (210) 569~8490

rkasson@gcaklaw.com

ATTORNEY FOR DEFENDANTS PENN-
AMERICA INSURANCE COMPANY AND
JOHN MCNABB

 

 

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CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing instrument was served on the
following counsel of record by the court’s electronic filing system and/or regular mail on March

10,2017:

Jason M. Byrd

448 Orleans Street
Beaumont, Texas 77701
(409) 924-0660

(409) 924-0035

Email: .lason§a}txbyrd.com

Chris Tamez

TAMEZ & ORTEGON, PLLC

1009 East EXpressway 83

Pharr, Texas 78577

(956) 630-0885

(956) 683-0485

Email: tamezandortegon@gmail.com

 

 

/S/ Richard Kasson
RICHARD J. KASSON

 

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UNITED STATES DISTRICT COURT
SOUTHERN DIS'I`RICT OF TEXAS

MCALLEN DIVISION
LONDRES INVESTMENTS, LP. §
Piainciir §
§
v. § Civil Action No.
§
PENN-AMERICA INSURANCE §
COMPANY AND JOHN MCNABB, §
Defendants

AFFIDAVIT OF KATE WlLK]NSON

COMMONWEALTH 01?@@§4!\@[][3 :

coUNTY oF Mn”/Uan%?)/

BEFORE ME, the undersigned authority, on this day personally appeared KATE
WILKINSON, who, being by me duly sworn, deposed as follows:

"My name is KATE WILKINSON. I am over the age of eighteen (18) years, of sound
mind, and competent to make this affidavit I have never been convicted of a felony nor a
misdemeanor involving moral turpitude I am the Director of Claims for Global Indemnity Group,
lnc., of which Penn-America lnsurance Company is one of its subsidiary insurance companies,
and I have personal knowledge of the facts herein stated and they are true and correct

Penn-America Insurance Company is incorporated in Delaware with its principal place of business
in Pennsylvania. Penn-America lnsurance Company is not a citizen of Texas.”

Further, Aff`iant sayeth naught.
SIGNED this zi day of March, 2017. ’

KATE WiLKiNSoN
Director of Clairns - Global Indemnity Group, Inc.

 

SUBSCRIBED AND SWORN TO z
day of March, 2017, Witness my hand and z

 

 

/
NZ>{/av$' Pubii€, commonwealth of BQQSZM`Q¢M

COMMON WEALTH OF PENNSYLVANIA_
NOTAR.IAL SEAL
Joan Greco, Notary Public
Lower Merion Twp, Montgomery County

_ M! commission exE'_m: anmbq 15l 2019

 

 

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Reviewed By: A|exis Bonil|a

CAUsE No. C‘°534“17`B
LoNDREs leEsTMENTs, LP § iN THE instch coURT on
§
vs. § HIDA_LGo coUNTv, TEXAS
§
PENN-AMERICA INSURANCE §
COMPANY and JoHN MCNABB §
§ ____ JUDlCIAL merch

PLAINTlFF’S GRIGINAL PETlTION
TO THE HONORABLE JUDGE OF SAID CGURT:

COMES NOW, LONDRES INVESTMENTS, LP Plaintiff herein, who files this Original
Petition against the Defendant, PENN~AMERICA INSURANCE COMPANY and JOHN
MCNABB and for cause of action would respectfully show the court as follows:

A. Discove§y Cootrol Plan

1. Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the
Texas Rules of Civil Procedure.

B. Psrties

2. Plaintiff LONDRES INVESTMEN'I`S, LP Texas limited partnership with its
principal place of business located in Hidalgo County, Texas.

3. Defendant PENN-AMERICA INSURANCE COMPANY is an insurance
company registered to engage in the business of insurance in the State of Texas. This Defendant
is located at 3 Bala Plaza East, Suite 300, Bala Cynwyd, PA 19004. As this Defendant has not
designated a Registered Agent in Texas, please issue citation to be served on the Texas
Commissioner of Insurance, by certiiied mail, return receipt requested, at 333 Guadalupe,

Austin, 'I`X 78701.

 

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4. Defendant, JOHN MCNABB is a licensed Texas insurance adjuster who may be
served with process by certified mail, return receipt requested at §09 Frio Dr., Portland, TX
78374.

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5. The court has jurisdiction over the cause of action because the amount in
controversy is within the jurisdictional limits of the court.

6. The Court has jurisdiction over Defendants PENN»AMER]CA INSURANCE
COMPANY and JOHN MCNABB because Defendauts are citizens of the State of Texas and/or
engage in the business of insurance in the State of Texas and the cause of action arises out of
Defe'ndants’ business activities in the State of Texas.

D. Venue

7. Venue is proper in Hidslgo County, Texas because the insured property is situated

in Hidatgo Coumy, Texas. TEX. clv. PRAC. & REM. cons § 15.032.
Mas!§;

8. Plaintiff was the owner of Texas Commercial Policy number PAC7061974
issued by PENN`-AMERICA INSURANCE COMPANY Defendant, (hereinafter referred to as
“the policy.”) Plaintiff owns the insured property (hcreinafter referred to as “the property.”),
which is specifically located 1900 S. 38“‘ St., McAllen, Texas.

9. Defendant PENN-AMERICA INSURANCE CDMPANY sold the policy,
insuring the property that is the subject of this lawsuit, to Plaintiff. The Plaintifi` suffered a
significant loss with respect to the property as a result of wind and/or hail.

10. Plaintiff` submitted a claim to Defendant with date of loss March 26, 2015 for

wind and/or hail damage to the building and contents of the property.

 

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ll. Defendants assigned claim number 15004501 to Plaintiff' s claim.

12. Defendants failed to properly adjust the claim and summarily improperly paid the
claim with obvious knowledge and evidence of serious cosmetic and structural damage
Specitically, Defendant JOHN MCNABB represented to Plaintiff that the damages were not
covered and to the extent they were covered by the policy, they did not exceed the deductible
This misrepresentation of damages in contradiction to the policy benefits forced the Plaintift to
cover all of the cost of repairs out of pocket despite the existence of indemnity under the policy
or file suit to recover cost of repairs owed.

13. Defendants improperly paid Plaintift’s claim for replacement of the property by
not providing full coverage for all areas of damage to the property, even though the policy
provided coverage for losses such as those suffered by Plaintifi`.

14. Defendants failed to perform their contractual duty to adequately compensate
Plaintiti' under the terms of the policy. Defendants failed and refused to pay the full proceeds of
the policy, although due demand was made for proceeds to be paid in an amount sufficient to
cover the damaged property and all conditions precedent to recovery upon the policy had been
carried out and accomplished by Defendants. Sueh conduct constitutes breach of the insurance
contract between Defendants and Plaintifi`.

15. Defendants misrepresented to Plaintift` that the damage to the property was not in
excess to the amount paid, even though the damage was caused by a covered occurrence
Defendants’ conduct constitutes violations of the Texas lnsurance Code.

16. Defendants failed to make an attempt to settle Plaintiff’s claim in a fair manner,

although they were aware of their liability to Plaintiff’ under the policy. Defendants’ conduct

Reviewed By; Alexis Boni|la

 

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constitutes violations of the Texas Unj€zir Competition and Unfair Practices Act. TEX. INS.
CODE. Section 541.060(2).

17. Defendants failed to explain to Plaintiff the reasons for their offer of an
inadequate settlement Specitically, Defendants failed to offer Plaintifl` adequate compensation,
without any explanations why full payment was not being made. Purtherrnore, Defendants did
not communicate that any future settlements or payments would be forthcoming to pay for the
entire losses covered under the policies, nor did it provide any explanation for the failure to
adequately settle ‘Plaintift` claim. Defendants‘ conduct constitutes violations of the Texas Un_)bir
Compe:mon and Unfair Pra¢rices Acr. TEX. INs. Cooe. section 541.060(3).

18. Defendants failed to affirm or deny coverage of Plaintift"s claims within a
reasonable time. Specifically, Plaintiff did not receive timely indication of acceptance or
rejection, regarding the full and entire claims, in writing from Defendants. Defendants’ conduct
constitutes violations of the Texas Unji:rir Competition and Unfair Praetices Acf. TEX. INS.
CODE. Section 541.060(4).

19. Defendants refused to fully compensate Plaintiff, under the terms of the policy,
even though Defendants failed to conduct a reasonable investigation Specifically, Defendants
performed an outcome»oriented investigation of Plaintiti’s claim, which resulted in a biased,
unfair and inequitable evaluation of Plaintift’s losses on the property. Defendants’ conduct
constitutes violations of the Texas Unjirir Compe!ition and Unfair Praclz`ces Act. TEX. INS.
conn section 5'41.060(7).

20. Defendants failed to meet their obligations under the Texas lnsurance Code
regarding acknowledging Plaintiff's claitns, beginning investigations to Plaintiti"s claims and

requesting all information reasonably necessary to investigate Plaintiff’s claim within fifteen

 

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(15) days of receiving notice of Plaintiff claims Defendants’ conduct constitutes violations of
the Texas Pr'ompt Payment ofCIaims Act. TEX, INS. CODE. Section 542.055.

21. Defendants failed to accept or deny Plaintifi’s full and entire claims within fifteen
(15) business days of receiving all required information Defendants’ conduct constitutes a
violation of the Texas Prompt Paymcnt ofClaims Act. TEX‘ INS. CODE. Section 542.056.

22. Defendants failed to meet their obligations under the Texas Insurance Code
regarding payment of claims without delay. Specifically, Defendants have delayed full payment
of Plaintiff’s claims longer than allowed and, to date, Plaintiff has not yet received full payment
for the claimsd Defendants’ conduct constitutes a violation of the Texas Prompt Payment of
Claims Act. TEX. INS. CODE. Section 542‘055.

23. Frorn and alter the time Plaintiff’s claims were presented to Defendants, the
liability of Defendants to pay the full claims in accordance with the terms of the policy was
reasonably clean However, Defendants have refused to pay Plaintiff in full, despite there being
no basis whatsoever on which a reasonable insurance company would have relied on to deny the
full payment Defendants’ conduct constitutes breaches of the common law duty of good faith
and fair dealing.

24. As a result of Defendants’ acts and omissions, Plaintiff` was forced to retain the
attorney who is representing Plaintiff in this cause of action.

25. Plaintiff’s experience is not an isolated case. The acts and omissions Defendants
committed in this case, or similar acts and omissions, occur with such frequency that they
constitute a general business practice of Defendants with regard to handling these types of

claims Defendants’ entire process is unfairly designed to reach favorable outcomes for the

company at the expense of the policyholders

 

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Causes of Aetion Aggi_n_st Dcfendants

26. Defendant, PENN-AMERICA INSURANCE COMPANY is liable to Plaintiff for
intentional breach of contract, as well as intentional violations of the Texas Unjizir Competition
and Ur;fair Pracfices Aci, the Texas Prompt Payment of Claims Act, and intentional breach of
good faith and fair dealing. Defendant, JOHN MCNABB, is liable to Plaintifi` for intentional
violations of the Texas Unf£rir Competilion and Unfair Prac!ices Act, and the Texas Prompt
Payment ofClat`ms Act.

§, Brca_ch of Contract

27. Defendant PENN~AMERICA INSURANCE COMPANY‘s conduct, as described
above, constitutes a breach of the insurance contract made between Defendant and Plaintiff.

28. Defendant’s failure and refusal, as described above, to pay the adequate
compensation as it is obligated to do under the terms of the policy in question and under the laws
of the State of 'l`exas, constitutes material breaches of the insurance contract with Plaintiff.
Plaintiff has suffered damages in the form of actual damages, consequential damages and
reasonable and necessary attorney’s fees.

Violations of the Texas Inaurance Code

Noncompliance with Texas Insuraucc Code Chapter 541: “Unfair Compctition and Unfair
Practices Act”

29. Dei`endants, PENN-AMERICA INSURANCE C()MPANY and JOHN
MCNABB’s conduct constitute multiple violations of the Texas Unfair Competition and Unfair
Practices Act. TEX. l'NS. CODE Chapter 541. All violations under this article are made

actionable by TEX. INS. CODE Section 541.151.

 

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30. Defendants’ unfair practice, as described above, of misrepresenting to Piaintiff
material facts relating to the coverage at issue, constitutes an unfair method of competition and
an unfair and deceptive act or practice in the business of insurance TEX. INS. CGDE Sections
541.051, 541.060 and 541.061.

31. Defendants’ unfair settlement practice, as described above, of failing to attempt in
good faith to effectuate a prompt, fair, and equitable settlement of the claims, even though
Defendants’ liability under the policy was reasonably clear, constitutes an unfair method of
competition and an unfair and deceptive actor practice in the business of insurance TEX. INS.
CGDE Sections 541.051, 541.060 and 541.061.

32s Defendants’ unfair settlement practice, as described above, of failing to promptly
provide Plaintifi` with a reasonable explanation of the basis in the policy, in relation to the facts
or applicable law, for its offer of a compromise settlement of the claims, constitutes an unfair
method of competition and an unfair and deceptive act or practice in the business of insurance
TEX. FNS. CODE ANN. Sections 541.051, 541.060 and 541.061.

33. Defendants’ unfair settlement practice, as described above, of failing within a
reasonable time to affirm or deny coverage of the claims Plaintiff or to submit a reservation of
rights to Plaintitt`, constitutes an unfair method of competition and an unfair and deceptive actor
practice in the business of insurance. TEX. INS. C()DE Sections 541 .051, 541.060 and 541 .061.

34. Defendants’ unfair settlement practice, as described above, of refusing to pay
Plaintiff’s claims without conducting a reasonable investigation, constitutes an unfair method of
competition an unfair and deceptive act or practice in the business of insurance TEX. INS.

CODE Sections 541.051, 541.060 and 541.061.

 

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Nonconiplianee with Texas Insuranee Code Chapter 542: “The Prompt Payment of Claims
Act”

35. Defendants, PENN-AMERICA WSURANCE CGMPANY and JOHN
MCNABB’s conduct constitute multipie violations of the Te:ms Prompt Paymem ofCIaims Ac!.
TEX. TNS. CODE Chapter 542. All violations made under this article are made actionable by
'I`EX. INS. CODE Seetion 542.060.

36. Defendants’ failure, as described above, to acknowledge receipt of Plaintiff’s
claims, commence investigation of the claims, and request from Plaintiff all items, statements,
and fonns that they reasonable believed would be required within the applicable time constraints,
constitutes a non-payment of the claims. TEX. INS. CODE Seetions 542.055-542.060.

37. Defendants’ delay of payment of Plaintiff’s elaims, as described above, following
its receipt of all items, statements, and forms reasonably requested and required, longer than the
amount of time provided for, constitutes a non~prompt payment of the claims TEX. INS. CODE
Sections 542.'055-542.060.

Breach of the Duty of Good Faith and Fair Dealing

38. Defendant PENN-AMERICA INSURANCE COMPANY conduct constitutes a
breach of the common law duty of good faith and fair dealing owed to insured’s in insurance
contracts.

39. Defendant’s failure, as described above, to adequately and reasonably investigate
and evaluate Plaintift’s claims, although at that time Defendant knew or should have known by

the exercise of reasonable diligence that its liability was reasonably clear, constitutes a breach of

the duty of good faith and fair dealing.

 

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H. Knowledge and Intent

40. Each of the acts described above, together and singularly, was done “knowingly”

and “intentionally” and was a producing cause of Plaintiffs’ damages described herein.

I. Texas Decegtive Trade Practlces Act

41, Each of the acts described above, together and singularly, constitute a violation of

the Texas Deceptive Trade Practices Act pursuant to its tie-in provision for Insurance Code

Violations. Accordingly, Plaintiff also brought each and every cause of action alleged above

under the Texas Deceptive 'I`rade Practices Act pursuant to its tie-in provision.

42. At_ all times material hereto, Plaintit’f was a consumer who purchased insurance

products and services from Det`endant, PENN-AMERICA INSURANCE CGMPANY.

Defendant, PENN¢AMERICA INSURANCE CDMPANY has violated the Texas Deceptive

Trade Praetices Act in the following manners:

a¢

Causing confusion or misunderstanding as to the source, sponsorship,
approval, or certiiication of goods or services;

Representing the goods or services . have sponsorship, approval,
characteristics ingredients, uses, benefits, or qualities which they do not
have or that a person has a sponsorship, approval, stanis, affiliation or
connection which he does not;

Advertising goods or services with intent not to sell them as advertised;

Making false or misleading statements of fact concerning the reasons for,
existence of, or amount of price reductions;

Representing that an agreement confers or involves rights, remedies, or
obligations, which it does not have or involve, or which are prohibited by
law;

Misrepresenting the authority of a salesman, representative or agent to
negotiate the final terms of a consumer transaction; and

Failing to disclose information concerning goods or services which was
known at the time of the transaction and such failure to disclose such

 

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information was intended to induce the consumer into a transaction into
which the consumer would not have entered had the information been
disclosed;

h. Engaging in an unconscionable course of conduct
Mcs_a\§l’_ra!_er

44. WHEREFGRE, PREMISES CONSIDERED, Plaintiff herein, LONDRES
INVESTMENTS, LP complains of PENN-AMERICA INSURANCE COMPANY and JOHN
MCNA.BB and prays that Defendants be cited to appear and answer and that on a final trial on
the merits, Plaintiff recover from Defendants the following:

45. Plaintiff would show that all of the aforementioned acts, taken together or
singularly, constitute the proximate and/or producing causes of damages sustained by Plaintiff.

46. For breach of contract, I’laintiff is entitled to regain the benefit of his bargain,
which is the amount of the claims, together with attorney’s fees

47. For noncompliance with the Texas Unjitir Competilion and Urg"cir Practices Act,
Plaintitf is entitled to actual damages, which includes the loss of the henths that should have
been paid pursuant to the policy, including but not limited to direct and indirect consequential
damages, mental anguish, court costs and attomey’s fees. For knowing conduct of the acts
complained of, Plaintiff asks for three times his actual damages TEX. INS. CODE ANN.
Section 541.060.

48. For noncompliance with Texas Prompt Paymen! ofCIaims Act, Plaintiff is entitled
to the amount of his claims, as well as eighteen (18) percent interest per armum post judgment
interest as allowed by law, and for any other further relief, either at law or in equity, to which he

may show himself to be justly entitled

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49. For breach of the duty of good faiih and fair dealing, exemplary damages as to be

determined by the jury.
Respectfully submitted,

THE BYRD LAW me, P.C.

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la on . B§"rd "

StateA ar No. 24036303
Jason@txbyrd.com

448 Orleans Street

Beaumont, Tcxas 77701

(409) 924-0660/(409) 924-0035
A'I'TORNEY FOR PLAINTIFF

~AND»

CI-IRIS TAMEZ

State Bar No. 24033256
'I`AMEZ & ORTEG()N, PLLC
1009 lZast Expressway 83
Pharr, Texas 78577

,(9561_630-088:§_ lene
LQ§_QM§MSM$-O¢l£§ Fax

Email; lamczzmdortcgonl?l)gmail.cc)m
A`l`TORNEY FOR I’LAINTIFF

gyle DEMAND

Plaintiff` respectfully demands a trial by jury.

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THE BYRD LAW F|RIV|

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HOUSTON l BEAUMONT
Altorneys at Law
w\\'w.lxbyrd ,co m
448 Or|eans 409.924.0660 Telephone
Beaumont‘ Texas 77701 409.924.0035 Facsimile
February 2, 2017
Penn-America insurance Company
P. O. Box 532
Willow Grove, PA 19090-0532 VlA CM/RRR AND REGULAR MAIL
John McNabb
209 F rio Dr
Portland, 'I`X 78374 VIA CM/RRR AND REGULAR MAIL
RE: Date of Loss: March 26, 2015
Insured: Londres lnvestments, LP

Policy Number: PAC706] 974
Claim Number: 15004501
Pmperry Address= 1900 s. 33'*' sr., McAnen, Tx 73503.

Dear Sir:

l am working jointly with Chris Tamez and the law firm of Tarnez & Ortegon on behalf`
of Londres Investments, LP (hereinafter referred to as “Plaintifi”) in connection with claim for
property damage at 1900 S. 38lh St., McAllen, Texas As you are well aware, Plaintiil` made a
claim against the Texas Commercial insurance Policy. The cl aim was made due to substantial
exterior and interior damage sustained at the building on or about March 26, 2015 as a result of
wind and hail.

The claim was timely reported after the damage was discovered and the property was
later inspected During the inspection, Penn~America insurance Company and John
McNabb had the opportunity to visually inspect all of the damage to the interior and exterior of
the property in question

Additionally, you have full knowledge that pursuant to the subject policy, full coverage
exists for damage caused by the wind and/or hail. Nevenheless, a repair estimate, which
minimized the damage to the property, was drafted and only minimal payments, if any, were
made under the policy despite the extensive damage

Undoubtedly, y'ou are aware of your liability to my client under the Texas lnsurance
Code, which specifically covers the unfair settlement of claims Specifically, Penn~America
Insurance Company is liable to Plaintiff" for the following violations of the 'I`exas insurance

541 .060. 1

l. Misrepresenting and/or failing to discuss with Plaintil"f, pertinent facts or policy
provisions relating to coverage as an issue;

 

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if Plaiittift`s claim is not paid within sixty (60) days from the receipt of this
correspondence we would expect to recover Plaintit`t"s actual damages along with damages For
consequential damages including but not limited to mental anguish prejudgment interest,
attorneys’ Fees, and damages for the breach of the duty of good faith and i`air dealing you owe
Plaintifl`. ln, addition, please be aware that recovery in the form of treble damages and additional
penalties will also be sought.

Th`is correspondence will also serve as notification that, pursuant to the ’l.`exas Civil
Praetiee~and Remedies Code 33.~001, et seq., you may be required to pay reasonable attorneys
fees due to your failure to perform as per'the terms of the insurance contract entered into with
Flaintifii Such payments are a result of Flaiutii`i’s retainment oi"our legal services to pursue his
remedy for damages and Would be paid in addition to the amount of a valid claim and costa

As Plaintift` is anxious to have this matter resolved immediately, we trust you will
immediately respond, in Writing, to this formal demand letter. lier this point l"orward, l am the
only contact t`or you or your attomey regarding this matters

If you have any questions regarding this matter or need additional ini`ormatiou, please

feel ii‘ee to contact this office l»lowevar, please do not contact Plaintiff, either orally or iii
writing, without prior express written permission

Sinuerely,

  

or the Firr.n

lMB/ac

 

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2. Failing to acknowledge, with reasonable promptness, pertinent communications
with respect to claims arising under its policy;

3. Failing to adopt reasonable standards for prompt investigation of claims arising
under its policics;

4. Not attempting in good faith to effectuate prompt, fair and equitable settlements
ofclaims Submitted in which liability had become reasonably clear;

5. Failing to provide promptly to policyholder a reasonable explanation of the basis
in the insurance policy, in relation to the facts or applicable law for denial of the
claim or for the offer of a compromise scttlcmcnt;

6. Failing to affirm or deny coverage of a claim to a policy holder within a
reasonable time after proof of loss statements have been complctcd; and

7. Rcl`using to pay claims without conducting a reasonable investigation based upon
all available information

Plaintiff is therefore entitled to court costs and attomey’s fccs, as well as actual damages.
Furthermorc, since Such acts were done knowingly, Plaintiff’s damages can be trebled_

You, JOHN MCNABB, are further notified that in accordance with Libcrty Mutual
Ins. Co. v Garrison Contractors, 41 Sup. Ct. J. 637 (Tex. 1998) you have individual liability
separate from that of your employer for violations of the Texas Insurance Code Chapter
541. Therefore, l’laintiff will be seeking damages and compensation from you personally as
well.

The delay in payment to Plaintifl` is also in violation of Tcxas Insurance Codc Chaptcr
542, Sub-chapter B, thus triggering liability on your part to pay the amount of the claim, plus
damages consisting of eighteen (18) percent per annum of the amount of the claim, prejudgment
interest and reasonable attorney’s fees.

Accordingly, on behalf of Plaintiff, demand is hereby made that within sixty (60) days
from your receipt of this correspondence that thc following amounts bc paid:

$606,538.09 in economic damages;

$500,000.00 in consequential damages, including but not limited to statutory treble
damages; and

$148,735.10 for cxpenscs, including attorney’s fecs, which you should notc, would
increase as this case dcvelops.

Pleasc understand this demand is made in the spirit of compromise According 10 our
analysis, this demand represents a tremendous savings to you given your potential exposure
under the Texas Insurance Codc.

ll" Plaintil`l’s claim is not paid within sixty (60) days from the receipt of this
correspondence, we would expect to recover Plaintiff’s actual damagcs, along with damages for

 

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JS 44 (Rev. 08/16)

The ._1S 44 civil cover sheet and the information contained herein neither replace nor supplement the filing
provided by local rules of court This form, approved by the Judicial Conference of the United States in Septernber 1974, is required for the use of the C1erk

CIVIL COVER SHEET

and service of pleadings or other papers as required by law, except as
of Court for the

purpose of initiating the civil docket sheet (SEE INSTRUCTIONS UNNEXT PAGE UF THIS FORM.)

 

I.

(a) PLAINTIFFS

LONDRES lNVESTI\/|ENTS, LF’

(b) County of Residence of First Listed P|aintiff

Hida|go Countv, Texas

(EXCEPTIN U.S. PLAINTIFF CASE.S)

(C) Attorneys

TX 78577; 409-924-0660 / 956-630-0885

(F irm Name, A¢Idress, and Te/ephone Number)
Jason l\/|. Byrd, Bryd Lavv Firm, 448 Orleans Street, Beaumont, TX 77701

Chris Tamez, Tamez & Onegon, PLLC, 1009 E. Expressway 83, Pharr,

DEFENDANTS
PENN-AMERICA |NSURANCE COl\/|PANY AND JOHN MCNABB

County of Residence of First Listed Defendant MOnthm€[y COUl'lty, PA
(IN U.S. PLAINTIFF CASES ONLY)'

IN LAND CONDEMNATION CASES1 USE THE LOCATION OF
THE~TRACT OF LAND INVOLVED,

NOTE:

AttOmCyS (]fKno\l'n)
Richard J. Kasson
Gonza|ez, Chiscano, /-\ngulo & Kasson, PC', 210~569-8500
9601 |\/IcAl|ister Freeway, Suite 401, San Antonio, TX 78216

 

 

Il. BASIS OF JURISDICTION (P/ace an "X"in 0)1e Box ()nl)y

 

IH. CITIZENSHIP OF PRINCIPAL PARTIES (P/ace an "X" in One Bo,\'for PlainIi/f

(F¢)r Diver.\'ily Ca.s'e.s' On/y) and One Boxfor Defendani)

 

 

 

 

 

 

 

 

 

 

 

 

 

13 1 U.S. Govemment D 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S, Ga\'ernmenl Not a Part)y Citizen ofThis State Cl 1 D 1 Incorporated 0)' Principal Place 13 4 |:l 4
ofBusiness In This State
13 2 U,S. Govemment 5 4 Diversity Citizen of Anotlier State C| 2 C| 2 Incoiporated and P\‘incipal Place |‘J 5 126 5
Def`endant (lndicale Citizenship quarties in llem III) of Busiuess In Another State
Citizen or Subject of a D 3 Cl 3 Foreign Nation [J 6 D 6
Foreign Country
IV. NATURE OF SUIT (P/ace an "X” in One Box Only) Click here for: Nature ol" Suil Code Descripnons.
CONTRACT ~ TORTS ~ FORFEITURE/PENALTY ' BANKRUPTCY ~' ` ` OTHER STATUTES '
128 1101nsurance PERSONAL INJURY PERSONAL lNJURY El 625 Drug Related Seizure ij 422 Appeal 28 USC 158 El 375 False Cla.ims Act
|J 120 Marine ij 310 Aiiplane Cl 365 Pei'sonal Injuxy - of Propeny 21 USC 881 D 423 Withdra\val 13 376 Qui Tam (31 USC
Cl 130 Miller Act D 315 Airplnne I’roduct Product Liability D 690 Other 28 USC 157 3729(a))
ij 140 Negotiable instrument Liability 13 367 Health Care/ D 400 State Reappoitionment
D 150 Recoveiy of Overpayment Cl 320 Assault, Libel & Phannaceutical PROPERTY RIGHTS 5 l 0 410 Antitrust
& Enforcement of Judgment Slander Persor\al Injuiy El 820 Copyrights ij 430 Banks and Banking
Cl 151 Medica\'e Act |:| 330 Federal Employers’ Product Liability 13 830 Patent D 450 Commerce
C] 152 Recovery of Defaulted Liability 13 368 Asbestos Personal 13 840 Tl‘ademark C) 460 Deportatior\
Student Loans Cl 340 Marine Injuiy Product IJ 470 Racketeer Influenced and
(Excludes Veterans) D 345 Marine Product Liability ` LABOR SOCIAL SECURITY ' ColTupt Orgauizations
Cl 153 Recovery ovaerpayment Liability PERSONAL PROPERT\( ij 710 Fair Labor Standai'ds 13 861 HIA (1395ff) D 480 Consumer Credit
ofVeteran’s Benef'its D 350 Motor Vehicle Cl 370 Otl\er Fi'aud Act C] 862 Blaok Lung (923) 13 490 Cable/Sat TV
D 160 Stockholders’ Suits D 355 Motor Vehicle CI 371 Trutli in Lending l`J 720 Labor/Manageinent 13 863 DlWC/DIWW (405(g)) El 850 Securities/Coinmodities/
Cl 190 Other Contract Product Liability B 380 Other Personal Relations E| 864 SSID Title XVI Exchang,e
EJ 195 Contract Product Liability C| 360 Othei' Persona! Property Damage 0 740 Railway Labor Act El 865 RSI (405(g)) Cl 890 Other Statutory Actions
D 196 Franchise Injury Cl 385 Property Damage 13 751 F amin and Medical |J 891 Agricultural Acts
13 362 Persona1 111qu - Product Liability Leave Act 13 893 Enviromnental Matters
__ Medical Malpractice l‘_°l 790 Other Labor Litigation \‘_'1 895 Freedom of lnformation
l ' REAL PROPERTY CIVIL RIGHTS ~ PRlSONER PETITIONS ` D 791 Employee Retirement FEDERAL TAX SUITS Act
111 210 Land Condemnation U 440 Other Civil Riglits Habeas Corpus: Income Security Act |J 870 Taxes (U.S. Plaintiff |3 896 Arbitration
Cl 220 Forec}osure Cl 441 Voting 13 463 Alien Detainee or Defendant) Cl 899 Administrative Procedure
l:] 230 Rent Lease & Ejectment l‘J 442 Employment El 510 Motions to Vacate D 871 IRS_Third Party Act/Review or Appeal of
E] 240 Torts to Land El 443 Housing/ Sentence 26 USC 7609 Ageney Decision
Cl 245 Tort Product Liability Accominodations 13 530 General El 950 Constitutionality of
D 290 All Other Real Property Cl 445 Amer. \v/Disabilities - Cl 535 Death Penalty ~ lMMIGRAT]ON y l State Statutes
Employment Othcr: 13 462 Naturalization Application
Cl 446 Amer. w/Disabilities - El 540 Mandamus & Other D 465 Other Immigration
Othe\‘ 13 550 Civil Rigl\ts Actions
ij 448 Education D 555 Prison Condition
U 560 Civil Detainee ~
Conditions of
Confmement

 

 

 

V. CRIGIN (P/ace an "X” in One Box Onl)y

0 1 Original UZ Removed from 13 3 Remanded from fl 4 Reinstated or l’_`l 5 Transfem=,d from l:l 6 Multidistrict [J 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation ~ Litigation -
(speci/fv) Transfer Direct File

 

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing (Do n 01 cite jm'isdictimml statutes un less diversit_w:

28 U.S.C. 1441 AND 1446

Brief description of cause:
|nsurance Coverage

 

 

 

 

 

 

VII. REQUESTED IN 13 cHEcK 1F THrs rs A cLAsS ACTroN DEMAND $ CHECK YES <>nly if demanded in Complainfr
C()MPLAINT; iJNDER RULE 23, F.R_CV.P. 0.00 JURY DEMAND; 35( Yes g NO
VIII. RELATED CASE(S)
SH ins/m r' n .'
IF ANY w C m S) JUDGE DOCKET NUMBER
DATE SlGNATURE OF ATTORNEY OF RECORD
03/10/2017 /s/ Richard J. Kasson
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

 

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

MCALLEN DIVISION

§
LONDRES INVESTMENTS, LP, §
Plaintiff §

§

§
v. § Civil Action No. 7 :17-cv-00073

§

§

§
PENN#AMERICA INSURANCE §
COMPANY AND JOHN MCNABB, §
Defendants §

§

 

INDEX OF DOCUMENTS

 

1. Plaintiff’S Original Petition (flled 02/03/2017)
2. Defendants’ Original Answer (filed 03/10/2017)

3. Defendants’ Notice of Removal (filed 03/10/2017)

EXHIBIT “A”

 

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Hida|go County District C|erks
Reviewed By: Alexis Boni||a

entan No. C‘°53‘1‘17'B
LGNDRES leESTMENTS, LP § lN THE DISTRICT couRT oF
§
Vs. § HIDALGQ cOUN'r¥, TEXAS
§
PENN-AMERICA INSURANCE §
CoMPANY and JoHN MCNABB §
§ ____ JUDICIAL DISTRICT

PLAINTIFF’S ORIGINAL PETlTION
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, LONDRES INVESTMENTS, LP Plaintiff herein, who files this Original
Petiticn against the Defendant, PENN~AMER.ICA INSURANCE COMPANY and JOHN
MCNABB and for cause of action would respectfully show the court as follows:

A. Discovegy Control Plan

1. Plaintiff intends for discovery to be conducted under Level 3 cf Rule 190 of the
Texas Rules of Civil Procedure.

B-_E§r!.i.;¢§.

2. Plaintiff LONDRES INVESTMEN'I`S, LF Texas limited parmership with its
principal place of business located in Hidalgo County, Texas.

3. Defendant PENN-AMER.ICA INSURANCE C()MPANY is an insurance
company registered to engage in the business of insurance in the State of Texas. This Defendant
is located at 3 Bala Plaza East, Suite 300, Bala Cynwyd, PA 19004. A_s this Defendant has not
designated a Registered Agent in Texas, please issue citation to be served on the Texas
Commissioner of Insurance, by certified mail, return receipt requested, at 333 Guadalupe,

Austin, TX 78701.

 

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4. Defendant, JOHN MCNABB is a licensed Texas insurance adjuster who may be
served with process by certified mail, return receipt requested at 209 Frio Dr., Portland, TX
78374.

C. Jurisdiction

5. The court has jurisdiction over the cause of action because the amount in
controversy is within the jurisdictional limits of the court.

6, The Court has jurisdiction over Defcndants PENN‘AMERICA INSURANCE
COMFANY and JOHN MCNABB because Det`endants are citizens of the State of Texas and/or
engage in the business of insurance in the State of Texas and the cause of action arises out of
Defendants’ business activities in the State of Texas.

D. Venue

7. Venue is proper in Hidalgo County, Texas because the insured property is situated

in Hidalgo County, Texas. TEX. CIV. PRAC. &: REM. CODE. § 15.032.
E-_FB

8. Plaintiff was the owner of Texas Commercial Policy number PAC7061974
issued by PENN`-AMERICA INSUR.ANCE COMPANY Defendant, (hereinafter referred to as
“the policy.”) Plaintiff owns the insured property (hereinafter referred to ss “the propertyi”),
which is specifically located 1900 S. 38"' St., McAllen, Texas.

9. Defendant PENN-AMERICA INSURANCE COMPANY sold the policy,
insuring the property that is the subject of this lawsuit, to Plaintiff. The Plaintif'f suffered a
significant loss with respect to the property as a result of wind and/or hail.

10. Plaintiff` submitted a claim to Defendant with date of loss March 26, 2015 for

wind and/or hail damage to the building and contents of the property.

 

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ll. Defendents assigned claim number 15004501 to Plaintift’s cleirn.

12. Defendants failed to properly adjust the claim and summarily improperly paid the
claim with obvious knowledge and evidence of serious cosmetic and structural damage
Specitically, Defendant JOI-IN MCNABB represented to Plaintiff that the damages were not
covered and to the extent they were covered by the policy, they did not exceed the deductible
This misrepresentation of damages in contradiction to the policy benefits forced the Plaintit`f to
cover all of the cost of repairs out of pocket despite the existence of indemnity under the policy
or tile suit to recover cost of repairs owed.

13. Defendants improperly paid Plaintiff’s claim for replacement of the property by
not providing full coverage for all areas of damage to the property, even though the policy
provided coverage for losses such as those suffered by Plaintiff.

14. Defendants failed to perform their contractual duty to adequately compensate
Plaintiti` under the terms of the policy. Defendants failed and refused to pay the full proceeds of
the policy, although due demand was made for proceeds to be paid in an amount sufficient to
cover the damaged property and all conditions precedent to recovery upon the policy had been
carried out and accomplished by Defendants. Such conduct constitutes breach of the insurance
contract between Defendants and Plaintiff.

15. Defendants misrepresented to PlaintiH that the damage to the property was not in
excess to the amount paid, even though the damage was caused by a covered occurrence
Defendants’ conduct constitutes violations of the Texas lnsurance Codc.

lo. l)efendants failed to make an attempt to settle Plaintiti’s claim in a fair manner,

although they were aware of their liability to Plaintitt` under the policy. Defendants’ conduct

 

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constitutes violations of the Texas Unfair Compeiition and Unfair Practices Ac!. TEX. INS.
CODE. Section 541.060(2).

17. Defendants failed to explain to Plaintiff the reasons for their oiler of an
inadequate settlement Specificaily, Defendants failed to offer Plaintift' adequate compensation,
without any explanations why full payment was not being made Furthermore, Det`endants did
not communicate that any future settlements or payments would be forthcoming to pay for the
entire losses covered under the policies, nor did it provide any explanation for the failure to
adequately settle 'Plaintift` claim. Det`endants’ conduct constitutes violations of the Texas Unjizir
Competition and Unfair Practices Aot, TEX. INS. CODE. Section 541 .060(3).

18. Det`endants failed to affirm or deny coverage of Plaintift’s claims within a
reasonable time. Specifically, Plaintiff did not receive timely indication of acceptance or
rejection, regarding the full and entire claims, in writing ii'orn Defendants. Defendants’ conduct
constitutes violations of the Texas Unjizir Competition and Unfair Practices Act. TEX. INS.
CODE. Section 541.060(4).

19. Defendants refused to fully compensate Plaintiff, under the terms of the policy,
even though Defendants failed to conduct a reasonable investigation Specii`lcally, Defendants
performed an outcome»oriented investigation of Plaintifi‘s claim, which resulted in a biased,
unfair and inequitable evaluation of Plaintift’s losses on the property. Defendants’ conduct
oonstittttes violations of the Texas Unfair Compe!ition and Unfair Practices Acr, TEX. INS.
conn section 5'41.060(7).

20. Defendants failed to meet their obligations under the 'l`exas Insurance Code
regarding acknowledging Plaintift"s clairns, beginning investigations to Plaintitt’s claims and

requesting all information reasonably necessary to investigate Plaintiff’s claim within Eiteen

 

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(15) days of receiving notice of Pleintift` claims Dcfendants’ conduct constitutes violations of
the Texas Prompt Paymem ofC‘laims Act. TEX. INS. CODE. Section 542.055.

21. Defendants failed to accepth deny Plaintiff's full and entire claims within fifteen
(15) business days of receiving all required information Defendants’ conduct constitutes a
violation of the Texas Prompt Payment ofClaims Act. TEX. INS. CODE. Section 542.056.

22. Defendants failed to meet their obligations under the 'l`exas Insurance Code
regarding payment of claims without delay. Speciiically, Defendants have delayed hill payment
of Plaintiff‘s claims longer than allowed and, to date, Plaintiff has not yet received full payment
for the claims Defendants’ conduct constitutes a violation of the Texas Prompt Payment of
Claz‘ms Act. TEX. INS. CODE. Section 542.055.

23, Frorn and after the time Plaintiff’s claims were presented to Defendants, the
liability of Defendants to pay the full claims in accordance with the terms of the\policy was
reasonably clear. However, Dcfendants have refused to pay Plaintiff in full, despite there being
no basis whatsoever on which a reasonable insurance company would have relied on to deny the
hill payment Defendants’ conduct constitutes breaches of the common law duty of good faith
and fair dealing,

24. As a result of Defcndnnts’ acts and omissions, Plaintiff was forced to retain the
attorney who is representing Plaintiff` in this cause of action

25, Plaintiff’ s experience is not an isolated case. The acts and omissions Dcfendants
committed in this case, or similar acts and omissions, occur with such hequency that they
constitute a general business practice of Det`endants with regard to handling these types of
claims. Defendants’ entire process is unfairly designed to reach favorable outcomes for the

company at the expense of the policyholders

 

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Causes of Action Against Defendants

26. Defendant, PENN-AMERICA INSUR.ANCE COMPANY is liable to Plaintii’f for
intentional breach of contraet, as well as intentional violations of the Texas Unfair Compezition
and Ur;fair Practices Aci, the Texas Prompt Payment of Clairns Act, and intentional breach of
good faith and fair dealing. Defendant, JOHN MCNABB, is liable to Plaintiff for intentional
violations of the Texas Unfair Competiiion and Unjliir Practices Act, and the Texas Prompt
Payment of Claims Act.

G. Brcach of Contract

27. Defendant PENN~AMERICA INSURANCE COMPANY’s conduct, as described
above, constitutes a breach of the insurance contract made between Defendant and PlaintiH`.

28. Defendant’s failure and refusal, as described above, to pay the adequate
compensation as lt is obligated to do under the terms of the policy in question and under the laws
of the State of 'I`exas, constitutes material breaches of the insurance contract with Plaintiff.
Plaintiil` has suffered damages in the form of actual damages, consequential damages and
reasonable and necessary attorney’s fees

Violations of the Texas lawrence Cod_e_

Noncompliancewitb Texas lnsuraoce Code Chapter 541: “Unfair Competition and Unfair
Practices Act”

29. Defendants, PBNN-AMER.ICA INSURANCE C()MPANY and JOHN
MCNABB’s conduct constitute multiple violations of the Texas Unfair Compelition and Unji!ir
Practices Act. TEX. INS. CODE Chapter 541. All violations under this article are made

actionable by TEX. INS. C()DE Section 541.151.

 

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30. Defendants’ unfair practicc, as described above, of misrepresenting to Plaintiii'
material facts relating to the coverage at issue, constitutes an unfair method of competition and
an unfair and deceptive act or practice in the business of insurance TEX. INS. CODE Sections
541.051, 541.060 and 541 .061.

31. Defendants’ unfair settlement practice, as described above, of failing to attempt in
good faith to effectuate a prompt, fair, and equitable settlement of the claims, even though
Defenclants' liability under the policy was reasonably clear, constitutes an unfair method of
competition and an unfair and deceptive actor practice in the business of insurance TEX. INS.
CODE Scctions 541.051, 541.060 and 541.061. l

32. Defendants’ unfair settlement practice, as described above, of failing to promptly
provide Plaintift` with a reasonable explanation of the basis in the policy, in relation to the facts
or applicable law, for its offer of a compromise settlement of the claims, constitutes an unfair
method of competition and an unfair and deceptive act or practice in the business of insurance
TEX. INS. CODE ANN. Sections 541.051, 541.060 and 541.061.

33. Defendants" unfair settlement practiee, as described above, of failing within a
reasonable time to affirm or deny coverage of the claims Plaintiff` or to submit a reservation of
rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or
practice in the business of insurance TEX. INS. CODE Sections 541 .051, 541 .060 and 541.061.

34. Defendants’ unfair settlement practice, as described above, of refusing to pay
Plaintifi"s claims without conducting a reasonable investigation, constitutes an unfair method of
competition an unfair and deceptive act or practice in the business of insurance TEX. INS.

CODE Sections 541.051, 541.060 and 541.061.

 

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Noncnmpliauce with Texas insurance Code Chapter 542: “Tbe Prompt Payment of Claims
Act”

35. Defendants, PENN-AMERICA INSURANCE COMPANY and JUHN
MCNABB’s conduct constitute multiple violations of the Texas Prompt Pnyment ofCIaims Act.
TEX. I`NS. CODE Chapter 542. All violations made under this article are made actionable by
TEX. INS. CODE Section 542.060.

36. Det`endants’ failure, as described above, to acknowledge receipt of Plaintift’s
claims, commence investigation of the claims, and request from Plaintiff all items, statements,
and fonns that they reasonable believed would be required within the applicable time constraints
constitutes a non-payment of the claims TEX. INS. CODE Seetions 542.055-542.060.

37. Defendants’ delay of payment of Plaintiti"s claims, as described above, following
its receipt of all items, statements, and forms reasonably requested and required, longer than the
amount of time provided for, constitutes a non»prompt payment of the claims. TEX. INS. CODE
Sections 542.055i542.060.

Breach of the Duty of Good Faith and Fair Dealing

38. Defendant PENN‘AMERICA INSURANCE COMPANY conduct constitutes a
breach of the common law duty of good faith and fair dealing owed to insured’s in insurance
contracts

39. Defendant’s failure, as described above, to adequately and reasonably investigate
and evaluate Plaintiff’s claims, although at that time Defendant knew or should have known by
the exercise of reasonable diligence that its liability was reasonably clear, constitutes a breach of

the duty of good faith and fair dcaling.

 

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H. Knowledge and latent

40. Each of the acts described above, together and singularly, was done “kuowingly”

and “intentionally” and was a producing cause of Plaintiffs’ damages described herein

I. Texas Deceptive Tr;a_¢_ie Practice,_§ Act

41. Each of the acts described above, together and singularly, constitute a violation of

the 'I`exas Deceptive Trade Practices Act pursuant to its tie-in provision for Insurance Code

Violations. Accordingly, Plaintiff also brought each 'and every cause of action alleged above

under'the Texas Deceptive Trade Practices Act pursuant to its tie-in provision.

42. At all times material hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendant, PENN~AMERICA INSUR.ANCE CGMPANY.

Defendant, PENN»AMERICA INSURANCE COMPANY has violated the Texas Deceptivc

Trade Practicee Act in the following manners:

a»

Causing confusion or misunderstanding as to the source, sponsorship,
approval, or codification of goods or services;

Representing the goods or services have sponsorship, approval,
characteristics ingredients uses, benefits, or qualities which they do not
have or that a person has a sponsorship, approval, statu.s, affiliation or
connection which he does not;

Advertising goods or services with intent not to sell them as advertised;

Making false or misleading statements of fact concerning the reasons for,
existence of, or amount of price reductions;

Representing that an agreement confers or involves rights, remedies, or
obligations which it does not have or involve, or which are prohibited by
law;

Misrepresenting the authority of a salesman, representative or agent to
negotiate the final terms of a consumer uansaction; and

Failing to disclose information consenting goods or services which was
known at the time of the transaction and such failure to disclose such

 

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Hldalgo County District Clerks
Reviewed By: Alexis Bonilla

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information was intended to induce the consumer into a transaction into
which the consumer would not have entered had the information been
disclosed;

h. Engaging in an unconscionable course of conduct
J. Damages and Prayer

44. WHEREFORE, PREMISES CGNSIDERED, Plaintifi` hcrein, LONDRES
INVESTMENTS, LP complains of PENN-AMERICA INSURANCE COMPANY and JGHN
MCNABB and prays that Det`endants be cited to appear and answer and that on a final trial on
the merits, PlaintiH` recover from Det`endants the following:

45. Plaintiff would show that all of the aforementioned acts, taken together or
singularly, constitute the proximate and/or producing causes of damages sustained by Plaintiff.

46. For breach of contract, Plaintiff is entitled to regain the berrth of his bargain,
which is the amount of the claims, together with attorney’s fees.

47. For noncompliance with the Texas Unfair Competition and Unfair Practice.s Act,
Plaintiff is entitled to actual damages, which includes the loss of the benefits that should have
been paid pursuant to the policy, including but not limited to direct and indirect consequential
darnages, mental anguish, court costs and attomey’s fees. For knowing conduct of the acts
complained ot`, Plaintift` asks for three times his actual damaged TEX. INS. CODE ANN;
Section 541.060.

48. For noncompliance with Texas Promp! Pa,vment ofClaims Act, Plaintiff is entitled
to the amount of his claims, as well as eighteen (18) percent interest per annum post judgment

interest, as allowed by law, and for any other further relief, either at law or in equity, to which he

may show himself to be justly entitled

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Hldalgo County District Clerks
Reviewed By: Alexie Boni|la

C'0534~'1'l'-B
49. F or breach of the duty of good faith and fair dealing, exemplary damages as to he

determined by the jury.
Respectfully submitted,

THE B\'Rn LAW FiRi\-i, P.C.

f"

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Ja’§>n . By?d "

Sta e» ar Noj 24036303
Jason@txbyrd.com

448 Orleans Street

Beaumont, Texas 77701

(409) 924-0660/(409) 924-0035
ATI`ORNEY FGR PLAINTIFF

-AND-

CHRIS TAMEZ

State Bar No. 24033256

'I`AMEZ & GRTEGON, PLLC

1009 l§ast Express\»vay 83

Pharr, Texas ‘78577

(956`) 630-088§ Phonc

§956§ 633-0485 Fax

Email: lamozmidortcnon@.emnil.com
ATTORNEY FOR PLAINTIFF

JURY DEMAND

Plaintil"l` respectfully demands 21 trial by jury.

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Jasow§rd

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Cause No. C-0534-17-B

LONDRES INVESTMENTS, LP,

Plaintiff IN THE DISTRICT COURT

HIDALGO COUNTY, TEXAS

PENN-AMERICA INSURANCE
COMPANY and JOHN MCNABB,
Defendants

93RD JUDICIAL DISTRICT

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DEFENDANTS’ ORIGINAL ANSWER
TO THE HONORABLE JUDGE OF SAID COURT:
COME NOW, PENN-AMERICA INSURANCE COMPANY AND JOHN
MCNABB, Defendants in the above-Styled and numbered cause, and file this their Original
Answer and in Support of the Same Would respectfully ShoW unto the Court as follows:

I.
GENERAL DENIAL

Subject to all Written Stipulations, admissions or pleadings Which Defendants may
hereinafter make and tile in this cause, Defendants generally deny the allegations contained in
Plaintiff’S Petition, pursuant to Rule 92, T.R.C.P. and demand Strict proof thereof, to Which
Defendants are entitled under the laws of this State audits Constitution.

II.
Defendants hereby demand a jury.
WHEREFORE, PREMISES CONSIDERED, Defendants, PENN-AMERICA

INSURANCE COMPANY AND JOHN MCNABB, pray that Plaintiff take nothing by this

 

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suit, but that these Defendants have judgment, plus costs of court, and such other and further

relief to which they are entitled, either at law or in equity.

Respectfully submitted,

GoNZALEZ, CHISCANO, ANGULo & KAsSoN, PC
9601 McAllister Freeway, Suite`401

San Antonio, Texas 78216

Tel: (210) 569-8500

Fax: (210) 569-8490

By: /s/ Richard J. Kasson
RICHARD J. KASSON
State Bar No. 24002392

rl<asson@gcaklaw.com
ATTORNEY FOR DEFENDANTS

CERTIFICATE oF SERVICE

I hereby certify that on the 10th day of March, 2017 , in accordance with the Texas Rules
of Civil Procedure, a true and correct copy of foregoing document has been forwarded to the
following by faX transmission, certified mail, return receipt requested, regular mail and/or hand-

delivery:

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Email: tamezandortegon@gmail.com

/s/ Richard J. Kasson
RICHARD J. KASSON

 

 

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Cause No. C-0534-17-B

LO.ND.RES INVESTMENTS’ LP’ IN THE DISTRICT COURT
Plalntlff
v. HIDALGO COUNTY, TEXAS

PENN-AMERICA INSURANCE
COMPANY and JOHN MCNABB,
Defendants

93RD JUDICIAL DISTRICT

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DEFENDANTS’ NOTICE OF REMOVAL

 

To THE HONORABLE JUDGE oF SAID COURT:

PLEASE TAKE NOTICE that on March 10, 2017, Defendants Penn-Arnerica lnsurance
Company (“Penn-America”) and John McNabb (herein, “Defendants”) filed a Notice of Removal
in the United States District Court for the Southern District of TeXas, removing this case from the
District Courts of Hidalgo County, Texas to the United States District Court for the Southern
District of Texas, McAllen Division. A copy of the Notice of Removal that was filed in federal
court is attached as Exhz`bit ] . A copy of this Notice has been sent to Plaintiff.

PLEASE TAKE FURTHER NOTICE that the Notice of Removal has been filed in
accordance with the provisions of 28 U.S.C. §§ 1441, 1446 and 1446(d), and pursuant to 28 U.S.C.
§ 1446(d), the District Courts of Hidalgo County, Texas shall proceed no further with the above-

captioned case unless and until the case is remanded.

 

Case 7:17-cv-OOO73 Document 1 Filed in TXSD on 03/10/17 Page 37 of 37

Respectfully submitted,

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Phone: (210) 569-8500

Fax: (210) 569-8490

s/ Richard Kasson
RICHARD J. KASSON
State Bar No. 24002392

rl<asson@geaklaw.com
ATTORNEY FOR DEFENDANTS

CERTIFICATE OF SERVICE

l hereby certify that on the 1_(_)_§‘1 day of March, 2017, in accordance with the Texas Rules
of Civil Procedure, a true and correct copy of foregoing document has been forwarded to the
following by fax transmission, certified mail, return receipt requested, regular mail and/or hand-

delivery:

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s/ Richard Kasson
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